Case 1:17-cr-00582-JMS-RLP Document 397 Filed 02/12/19 Page 1 of 8                         PageID #:
                                   3287



                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                           Cr. No. 17-00582 JMS-RLP

                      Plaintiff,                    ORDER DENYING DEFENDANT
                                                    NGUYEN’S MOTION TO
      vs.                                           SUPPRESS EVIDENCE, ECF NO.
                                                    310
KATHERINE P. KEALOHA (1),
LOUIS M. KEALOHA (2), DEREK
WAYNE HAHN (3), MINH-HUNG
NGUYEN (4), GORDON SHIRAISHI
(5), AND DANIEL SELLERS (6),

                      Defendants.


  ORDER DENYING DEFENDANT NGUYEN’S MOTION TO SUPPRESS
                  EVIDENCE, ECF NO. 310

                                   I. INTRODUCTION

               Defendant Minh-Hung Nguyen (“Defendant” or “Nguyen”) has filed a

Motion to Suppress Evidence, ECF No. 310, seeking to suppress cell site location

information (“CSLI”) obtained by the government pursuant to an August 4, 2015

Order obtained under the Stored Communications Act, 18 U.S.C. § 2703(d). 1


      1
          Section 2703(d) provides in part:

               A court order for disclosure under [18 U.S.C. 2703(b) or (c)] may
               be issued by any court that is a court of competent jurisdiction and
               shall issue only if the governmental entity offers specific and
               articulable facts showing that there are reasonable grounds to
                                                                                      (continued . . .)

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Case 1:17-cr-00582-JMS-RLP Document 397 Filed 02/12/19 Page 2 of 8                     PageID #:
                                   3288



Nguyen relies on Carpenter v. United States, 138 S. Ct. 2206 (2018) (holding that

— contrary to some of § 2703(d)’s terms — the government must obtain a warrant

upon probable cause to obtain CSLI), in arguing that the August 4, 2015 Order led

to an unconstitutional violation of his Fourth Amendment rights.

               Despite the admitted violation, however, the evidence is admissible

under a good-faith exception to the exclusionary rule as set forth in Illinois v.

Krull, 480 U.S. 340, 346 (1987) (applying a good faith exception where law

enforcement reasonably relied on a statute that was later determined to be

unconstitutional) and United States v. Leon, 468 U.S. 897, 920 (1984) (applying a

good faith exception where law enforcement reasonably relied on a warrant issued

by a neutral magistrate, even if the warrant was later found defective).

Accordingly, Nguyen’s Motion to Suppress is DENIED.

                                      II. DISCUSSION

               The government obtained the August 4, 2015 Order from a magistrate

judge, who approved the government’s application for release from the carrier of

historical CSLI from Defendant’s cellular telephone. In accordance with


(. . . continued)
                 believe that the contents of a wire or electronic communication, or
                 the records or other information sought, are relevant and material
                 to an ongoing criminal investigation.



                                                 2
Case 1:17-cr-00582-JMS-RLP Document 397 Filed 02/12/19 Page 3 of 8            PageID #:
                                   3289



§ 2703(d), the application set forth “specific and articulable facts showing . . .

reasonable grounds to believe that the requested information [was] relevant and

material to [an] ongoing criminal investigation.” ECF No. 340 at 3 ¶ 3. The

government explained that it was “investigating obstruction of justice,” specifically

that “Honolulu Deputy Prosecutor [co-Defendant Katherine Kealoha] and others

may have conspired with individuals within the Honolulu Police Department

(HPD) committing acts of obstruction of justice and false imprisonment by either

creating false evidence or withholding evidence to falsely imprison [Katherine

Kealoha’s] uncle, [Gerard] Puana.” Id. at ¶ 3a. The application sought CSLI

records for Nguyen’s cell phone because:

             these records may assist in determining [his] possible
             location on several specific dates and times which are
             relevant to this investigation. There are several dates and
             times in question, which include but are not limited to
             events on June 21, 2013 at approximately 11:31 PM
             where [Katherine Kealoha] alleged that Puana stole [her]
             property and Puana was previously arrested by HPD
             based on [her] statements. Puana has previously stated
             he was not at his residence, or the scene of the theft
             during the time in question.

Id. at 4 ¶ 3b. The government sought records from January 1, 2013 until July 29,

2015. Id. at ¶ 4b.

             When the government applied for a § 2703(d) order on July 29, 2015,

at least three circuit courts of appeal had upheld the section’s constitutionality. See

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Case 1:17-cr-00582-JMS-RLP Document 397 Filed 02/12/19 Page 4 of 8                         PageID #:
                                   3290



In re Application of the U.S. for an Order Directing Provider of Elec. Commc’n

Serv. to Disclose Records to Gov’t, 620 F.3d 304, 313 (3d Cir. 2010); In re

Application of U.S. for Historical Cell Site Data, 724 F.3d 600, 616 (5th Cir.

2013); United States v. Davis, 785 F.3d 498, 511 (11th Cir. 2015) (en banc). And

after the August 4, 2015 Order was issued, at least three other circuits also upheld

§ 2703(d)’s standard against constitutional challenges. See United States v.

Graham, 824 F.3d 421, 438 (4th Cir. 2016) (en banc); United States v. Carpenter,

819 F.3d 880, 890 (6th Cir. 2016); United States v. Thompson, 866 F.3d 1149,

1160 (10th Cir. 2017). The Ninth Circuit, however, had not issued an opinion, one

way or the other, regarding § 2703(d)’s constitutionality. 2

               But, on June 22, 2018, the Supreme Court overruled those circuits and

held that, absent case-specific exceptions such as exigent circumstances, “the

Government will generally need a warrant to access CSLI.” Carpenter, 138 S. Ct.

at 2222. That is, “an order issued under Section 2703(d) of the [Stored

Communications] Act is not a permissible mechanism for accessing historical cell-

site records.” Id. at 2221. Given Carpenter, the government does not dispute that

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          At about that time, district judges in the Northern District of California had begun
denying § 2703(d) applications on constitutional grounds, requiring search warrants to obtain
historical CSLI information. See In re: Application for Tel. Info. Needed for a Criminal
Investigation, 119 F. Supp. 3d 1011, 1018 (N.D. Cal. 2015) (so ruling on July 29, 2015, and
citing earlier orders from the Northern District of California, as well as opinions of state courts,
that recognized a reasonable expectation of privacy in CSLI).


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Case 1:17-cr-00582-JMS-RLP Document 397 Filed 02/12/19 Page 5 of 8          PageID #:
                                   3291



CSLI it received regarding Nguyen’s cell phone under the August 4, 2015 Order

was obtained in violation of the Fourth Amendment.

             Nevertheless, evidence obtained in an unconstitutional search is not

automatically excluded or suppressed. Rather, the exclusionary rule still

“permit[s] the introduction of evidence obtained in the reasonable good-faith belief

that a search or seizure was in accord with the Fourth Amendment.” Leon, 468

U.S. at 909 (quoting Illinois v. Gates, 462 U.S. 213, 255 (1983)). “The Court has

over time applied this ‘good-faith’ exception across a range of cases.” Davis v.

United States, 564 U.S. 229, 238 (2011). “Leon itself, for example, held that the

exclusionary rule does not apply when the police conduct a search in ‘objectively

reasonable reliance’ on a warrant later held invalid.” Id. at 238-39 (quoting Leon,

468 U.S. at 922). And Krull “extended the good-faith exception to searches

conducted in reasonable reliance on subsequently invalidated statutes.” Id. at 239

(citing Krull, 480 U.S. at 349-50). Davis then extended the doctrine to objectively-

reasonable good faith reliance on binding precedent. 564 U.S. at 241.

             Both Krull and Leon clearly apply to Nguyen’s Motion to Suppress.

As in Krull, the government here fully complied with the terms of a statute,

§ 2703(d), that authorized the release of CSLI. No precedent — whether in the

Ninth Circuit or the District of Hawaii — indicated the statute was


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Case 1:17-cr-00582-JMS-RLP Document 397 Filed 02/12/19 Page 6 of 8                       PageID #:
                                   3292



unconstitutional; indeed, at the time, at least three other circuits had upheld its

constitutionality. No circumstances indicate that the government could not have

reasonably relied upon the statutory scheme set forth in § 2703(d). 3 Thus, under

Krull, the fact that Carpenter subsequently invalidated § 2703(d) in June 2018

does not require suppression of CSLI obtained almost three years earlier in August

2015. See Krull, 480 U.S. at 349-50. Since Carpenter, although the Ninth Circuit

has not reached the question, numerous other courts that have considered the same

suppression issue have found the same good-faith exception to apply. See, e.g.,

United States v. Curtis, 901 F.3d 846, 848 (7th Cir. 2018); Goldstein, 2019 WL




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           In his Reply, Nguyen points out that the § 2703(d) application was sought by an
Assistant United States Attorney (“AUSA”), and not by an agent of the Federal Bureau of
Investigation or another law-enforcement agency. Nguyen argues that, as an attorney versed in
the nuances of search and seizure law, the AUSA must have known the statute was
unconstitutional. The court is not convinced. First, the good-faith standard is objective (not
subjective) and so the court does not examine the individual applicant’s beliefs. Second, as a
seasoned criminal prosecutor, it is just as likely — given the weight of authority at the time —
that the AUSA could have thought the statute was constitutional, making reliance on the terms of
the statute even more reasonable. And it makes little difference that the application was from the
AUSA (who had attested that “I have been informed by Special Agents of the FBI and believe
that” the facts in the application were true, ECF No. 340 at 4-5). See, e.g., United States v.
Brown, 2017 WL 3428300, at *5 (C.D. Cal. Aug. 7, 2017) (applying a good faith exception to a
§ 2703(d) order, after the Supreme Court had granted certiorari in Carpenter, where the
application was from the prosecutor, but with facts “as learned from [an] FBI Special Agent”);
United States v. Goldstein, 2019 WL 273103, at *4 (3d Cir. Jan. 22, 2019) (rejecting argument
that “the good faith exception applies only to police officers and other investigators, not the
government attorneys who obtained the Section 2703(d) order” because the inquiry is “not who
the state actor is, but rather, whether the state actor had a reasonable, good faith belief that his
actions were legal”).


                                                 6
Case 1:17-cr-00582-JMS-RLP Document 397 Filed 02/12/19 Page 7 of 8                     PageID #:
                                   3293



273103, at *3; United States v. Taylor, 2019 WL 339450, at *1 (W.D. Mo. Jan. 28,

2019) (citing numerous cases).

               Additionally, as in Leon, the government could have reasonably relied

on the magistrate judge’s independent determination that the government was

authorized to obtain the CSLI under the statute. Under Leon, the exclusionary rule

will not apply when law enforcement conducts a search pursuant to an objectively-

reasonable good-faith reliance on judicial order, even if that order is later found to

be invalid. 468 U.S. at 922. Nothing indicates that the § 2703(d) application

contained false or misleading statements or otherwise deceived the magistrate

judge, who issued the August 4, 2015 Order after independent review.4 Leon

applies, just as does Krull. 5 See, e.g., United States v. Chavez, 894 F.3d 593, 608

(4th Cir. 2018) (applying the good faith exception because investigators

“reasonably relied on court orders and the Stored Communications Act in

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          In his Reply, Nguyen argues that the application’s broad time frame (from January 1,
2013 until July 29, 2015) indicates that the AUSA knew or should have known that the search
was unconstitutional, and that “greater care and heightened awareness with respect to the Fourth
Amendment should have been taken.” ECF No. 370-1 at 6. But even if the request was broad (a
finding the court is not making, as the government might have had reason to investigate
Nguyen’s whereabouts on many occasions), it has no bearing on whether a good faith exception
applies here. That is, the government could still have relied in good faith on the terms of
§ 2703(d) and in the magistrate judge’s August 4, 2015 Order.
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           Given the clear applicability of Krull and Leon, the court need not decide whether a
good faith exception under Davis, 564 U.S. at 241 (holding that “[e]vidence obtained during a
search conducted in reasonable reliance on binding precedent is not subject to the exclusionary
rule”), also applies.


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Case 1:17-cr-00582-JMS-RLP Document 397 Filed 02/12/19 Page 8 of 8                 PageID #:
                                   3294



obtaining the cell site records”); Davis, 785 F.3d at 518 n.20 (“In the alternative,

we hold that the prosecutors and officers here acted in good faith and therefore,

under the well-established Leon exception, the district court’s denial of the motion

to suppress did not constitute reversible error.”).

                                 III. CONCLUSION

              For the foregoing reasons, the Motion to Suppress Evidence, ECF No.

310, is DENIED.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, February 11, 2019.



                                                     /s/ J. Michael Seabright
                                                    J. Michael Seabright
                                                    Chief United States District Judge




United States v. Kealoha et al., Cr. No. 17-00582 JMS-RLP, Order Denying Defendant
Nguyen’s Motion to Suppress, ECF No. 310

                                             8
